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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                           September 2019 Grand Jury

11   UNITED STATES OF AMERICA,               ED CR No. 5:21-cr-00169-RGK

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 1001(a)(2): False
                                             Statements to a Government Agency]
14   ISAAC ARROYO,
       aka “Officer I.,”
15
               Defendant.
16

17        The Grand Jury charges:
18                            [18 U.S.C. § 1001(a)(2)]
19   A.   INTRODUCTORY ALLEGATIONS
20        At times relevant to this Indictment:
21        1.   Defendant ISAAC ARROYO, also known as “Officer I,” was
22   employed by the California Department of Corrections and
23   Rehabilitation as a correctional officer at the California Institute
24   for Men (“CIM”) in Chino, California.
25        2.   In his capacity as a correctional officer, defendant ARROYO
26   supervised inmates who were California state prisoners.
27        3.   CIM, like other California Department of Corrections and
28   Rehabilitation correctional facilities, prohibited inmates from
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 1   possessing contraband including cellular telephones, controlled

 2   substances without a valid prescription, and food and personal items

 3   not sold from vendors approved by the California Department of

 4   Corrections and Rehabilitation.

 5        4.     Individual A was a family member of defendant ARROYO.

 6   Defendant ARROYO and Individual A shared a Golden One Credit Union

 7   account ending in 5435, to which they both had access.

 8        5.     Paypal is an electronic commerce company that facilitated

 9   payments between parties through online fund transfers.          PayPal users

10   created accounts that were connected to their credit card or checking

11   accounts.    Defendant ARROYO controlled a Paypal account ending in

12   0338, which transferred money directly to the Golden One Credit Union

13   account ending in 5435, to which defendant ARROYO and Individual A

14   both had access.

15        6.     Walmart to Walmart domestic money transferring service

16   allowed customers to transfer money from one Walmart location to

17   another.    The sender of a Walmart to Walmart money transfer received

18   a unique transaction reference number, which the sender would then

19   share with the recipient of the money transfer, to enable the

20   recipient of the transfer to receive the transfer at any Walmart

21   location.

22   B.   FALSE STATEMENTS TO A GOVERNMENT AGENCY

23        7.     On or about August 22, 2017, in San Bernardino County,
24   within the Central District of California, in a matter within the
25   jurisdiction of the executive branch of the government of the United
26   States, namely, the Federal Bureau of Investigation (the “FBI”),
27   defendant ARROYO knowingly and willfully made the following
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 1   materially false and fictitious statements and representations to the

 2   FBI:

 3             a.    Defendant ARROYO falsely stated that neither an inmate

 4   nor a family member or friend of an inmate had ever sent defendant

 5   ARROYO any money.    In fact, as defendant ARROYO knew, he received two

 6   checks in the amount of $500 each, from A.S., a family member of an

 7   inmate, dated March 31, 2014, which were deposited into the Golden 1

 8   Credit Union account ending in 5435, which defendant ARROYO shared

 9   with Individual A, a family member of defendant ARROYO.          Defendant

10   ARROYO also received electronic transfers of funds from family

11   members and friends of inmates.      Those funds were funneled through a

12   PayPal account ending in 0338, and were then transferred to the

13   Golden 1 Credit Union account ending in 5435, which defendant ARROYO

14   shared with Individual A.

15             b.    Defendant ARROYO falsely stated that an inmate’s

16   family members or friends had never sent money to defendant ARROYO’s

17   family members or friends.     In fact, as defendant ARROYO knew,

18   Individual B, a family member and friend of defendant ARROYO,

19   received money from family members of inmates via MoneyGram wire

20   transfers, and through Walmart to Walmart money transfers, after

21   which Individual B withdrew the money and gave it to defendant

22   ARROYO, per defendant ARROYO’s instructions to Individual B.

23             c.    Defendant ARROYO falsely stated that he never brought

24   contraband to inmates.     In fact, as defendant ARROYO knew, he

25   provided contraband, such as controlled substances and cellular

26   telephones, to inmate M.A.W. on multiple occasions between on or

27   about November 13, 2014, and on or about January 13, 2015, while

28   inmate M.A.W. was incarcerated at CIM.
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